      Case 2:99-cr-00151-LKK Document 87 Filed 09/09/05 Page 1 of 2


 1   FRED N. DAWSON (SBN 43306)
     Post Office Box 400
 2   Fair Oaks, CA 95628
 3   Telephone: (916) 498-1300

 4   Attorney for Defendant
     CHRIS RYAN ANSELL
 5
 6
 7
 8
                     IN THE UNITED STATES DISTRICT COURT
 9
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                 Case No.: CR-S-99-151-LKK
12
                Plaintiff,
13                                             ORDER
          vs.
14
     CHRIS RYAN ANSELL,
15
                Defendant.
16
17
18       This matter came before the Court pursuant to Defendant’s
19 Motion to Modify Conditions of Release.
20       Having received and reviewed the motion, and noting the
21 concurrence of the Government and the probation officer, the
22 Court hereby GRANTS the Defendant’s Motion to Modify Conditions
23 of Release and hereby REMITS the balance amount of restitution
24 for Mr. Ansell to zero dollars ($0.00).
25   / / /
26
27   / / /
28


                                         1
                                       ORDER
      Case 2:99-cr-00151-LKK Document 87 Filed 09/09/05 Page 2 of 2


 1       Further, that all restitution monies received by the Court
 2 as of the date of this order is deemed to satisfy the restitution
 3 ordered in the original judgment, dated March 17, 2000, as to
 4 defendant Chris Ryan Ansell.
 5       IT IS SO ORDERED
 6
     DATED: September 9, 20005                 /s/Lawrence K. Karlton
 7                                             HONORABLE LAWRENCE K. KARLTON
 8                                             Senior, U.S. District Judge

 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                         2
                                       ORDER
